Case 2:17-cv-11630-NGE-RSW ECF No. 61 filed 03/27/19           PageID.824   Page 1 of 4



                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

MICHAEL BOWMAN, individually
and on behalf of all others similarly          Case No. 17-cv-11630-NGE
situated,
                                               Hon. Nancy G. Edmunds
                           Plaintiffs,
v.                                             Mag. R. Steven Whalen

ART VAN FURNITURE, INC., a
Michigan corporation,

                           Defendant.

	
     NOTICE OF CORRECTED DECLARATION OF LINDSEY MARQUEZ

       The Plaintiff and Settlement Class Representative, Michael Bowman, by and

through his attorneys, hereby provides the Court with Notice of Corrected

Declaration of Lindsey Marquez, the Project Manager for the Court-appointed

Settlement Administrator in this case, Epiq Class Action & Mass Tort Solutions,

Inc. In support of this Notice, Plaintiff states as follows:

       1.    This Court granted final approval to the Class Action Settlement (dkt.

35-1) achieved in this case on December 10, 2018. (Dkt. 53.)

       2.    In support of Final Approval, on October 9, 2018, the Settlement

Administrator in this case, Epiq, through the Project Manager, Linsey Marquez,

provided a declaration (“Initial Notice Declaration”) (dkt. 48-2) in support of the

Notice Plan implemented with respect to the Settlement.


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Case 2:17-cv-11630-NGE-RSW ECF No. 61 filed 03/27/19          PageID.825    Page 2 of 4



      3.     In the Initial Notice Declaration, Ms. Marquez had indicated that:

      As of October 9, 2018, Epiq has received a total of 32,667 Claims
      Forms (2,408 paper Claim Forms and 30,259 web claims). Epiq has
      reviewed the Claim Forms and determined that 31,471 are complete,
      18 incomplete, which are in the process of being sent deficiency
      letters, and 1, 178 are duplicate or denied as result of being submitted
      late or from non-class members.

(Dkt. 48-2 ¶ 18.)

      4.     Settlement Class Counsel relied on these figures during the final

approval process when stating the claims rate for the Court (reporting a ballpark of

32,000 claims) (See e.g. Mot. for Final Approval at 35.) (Dkt. 48.)

      5.     Epiq has notified counsel for the Parties that the Initial Notice

Declaration was erroneous. That is, Epiq has recently indicated that the number of

complete claim forms has increased to 34,404, of which 31,471 were previously

reported as complete, plus an additional 2,905 complete web claims and 28

complete paper claim forms. Epiq’s system failed to capture these additional web

claims due to a programming error resulting in web claims not transferring

properly into Epiq’s database. Epiq has confirmed that no additional claims are

unaccounted for.

      6.     Ms. Marquez has prepared a new corrected declaration with these

updated figures. (See Supplemental Declaration of Lindsey Marquez Regarding

Notice and Claim Administration (“Supplemental Declaration”) a true and accurate

copy of which is attached hereto as Ex. A.)

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Case 2:17-cv-11630-NGE-RSW ECF No. 61 filed 03/27/19          PageID.826    Page 3 of 4



      7.     Ms. Marquez’s Supplemental Declaration also indicates that,

“pursuant to a check for fraudulent claims, 75 claims have been moved to duplicate

status and the count of complete claims has been reduced from 34,404 to 34,329.”

(Supplemental Declaration ¶ 10.)

      8.     The discovery of these additional claims has no discernable impact on

the fairness, reasonableness, or adequacy of the initial settlement. That is, the

Settlement Class consisted of approximately 1.2 million Settlement Class

Members. At 32,000 claims, as previously reported, the claims rate was 2.67%. At

34,329, as updated, the claims rate increases to 2.86%. Both are typical in these

types of cases.

      9.     The increase in claims similarly will have an immaterial impact on the

amount that each claimant will receive. Whereas at 32,000 claimants each check

would be approximately $125, at 34,000 claimants each settlement check will

equal approximately $119.

      10.    The Supplemental Declaration is being provided because the Initial

Notice Declaration (dkt. 48-2) is not accurate, and the Parties wish to ensure that

the record in this case is (and stays) correct.




	                                                                                     3
Case 2:17-cv-11630-NGE-RSW ECF No. 61 filed 03/27/19      PageID.827   Page 4 of 4



Dated: March 27, 2019                Respectfully submitted,

                                     MICHAEL BOWMAN, individually and
                                     on behalf of all others similarly situated,

                                     By: /s/ Steven L. Woodrow
                                     One of Plaintiffs' Attorneys


                                     Steven L. Woodrow
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                        CERTIFICATE OF SERVICE

      I, Steven L. Woodrow, hereby certify that on March 27, 2019 I served the
foregoing Notice of Corrected Declaration of Lindsey Marquez by filing such
papers with the Court using the Court’s electronic filing system, which will
transmit copies to all counsel of record.

                             /s/ Steven L. Woodrow




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